

People v Shulterbrandt (2020 NY Slip Op 05463)





People v Shulterbrandt


2020 NY Slip Op 05463


Decided on October 06, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 06, 2020

Before: Friedman, J.P., Webber, Kern, Moulton, , JJ. 


Ind No. 2274/13 1837/14 3294/14 Appeal No. 11955 Case No. 2018-2315 

[*1]The People of The State of New York, Respondent,
vPhillip Shulterbrandt, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Jody Ratner of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Paul A. Andersen of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Jeanette Rodriguez-Morick, J.), rendered November 9, 2013,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 6, 2020
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








